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Richard J. Cooper, Esq.
Luke A. Barefoot, Esq.
CLEARY GOTTLIEB STEEN & HAMILTON LLP
One Liberty Plaza
New York, New York 10006
Telephone: 212-225-2000
Facsimile: 212-225-3999

Attorneys for the Foreign Representative
of Odebrecht S.A. and affiliated debtors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:
                                                  Chapter 15
Odebrecht S.A.,
                                                  Case No. 19-12731
         Debtor in a Foreign Proceeding




In re:
                                                  Chapter 15
Odebrecht Finance Ltd.,
                                                  Case No. 19-12732
         Debtor in a Foreign Proceeding




In re:
                                                  Chapter 15
Odebrecht Participações e Investimentos S.A.,
                                                  Case No. 19-12733
         Debtor in a Foreign Proceeding
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In re:
                                                                Chapter 15
ODB International Corporation,
                                                                Case No. 19-12734
         Debtor in a Foreign Proceeding



    MOTION FOR AN ORDER DIRECTING THE JOINT ADMINISTRATION OF THE
           CHAPTER 15 CASES OF ODEBRECHT S.A. AND ITS DEBTOR
    AFFILIATES PURSUANT TO 11 U.S.C. § 105(a) AND BANKRUPTCY RULE 1015(b)


         Marcelo Rossini, the foreign representative (“Petitioner” or the “Foreign Representative”)

in the jointly-administered judicial reorganization (recuperação judicial or “RJ”) proceeding (the

“Brazilian RJ Proceeding”) of Odebrecht S.A. (“ODB”) and its affiliated debtors in these Chapter

15 Cases (collectively, the “Debtors”) pending in the First Court of Bankruptcy and Judicial

Recovery of the State of São Paulo (the “Brazilian Court”) pursuant to Federal Law 11.101 of

February 9, 2005 (the “Brazilian Bankruptcy Law”) of the laws of the Federative Republic of

Brazil (“Brazil”), by and through his undersigned counsel, respectfully submits this motion (the

“Motion”) seeking an order substantially in the form annexed hereto as Exhibit A (the “Proposed

Order”) directing the joint administration of the Debtors’ Chapter 15 Cases for procedural

purposes only pursuant to section 105(a) of title 11 of the United States Code, 11 U.S.C. §§ 101-

1532 (the “Bankruptcy Code”), and Rule 1015(b) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”). In support of this Motion, the Petitioner respectfully represents as

follows: 1


1
          In further support of this Motion, the Petitioner relies upon and incorporates by reference: (i) the Verified
Petition for Recognition of the Brazilian RJ Proceeding and Motion for Order Granting Related Relief Pursuant to
11 U.S.C. §§ 1515, 1517, and 1520 (the “Verified Petition”); (ii) the Declaration of Eduardo Secchi Munhoz
in Support of Verified Petition under Chapter 15 for Recognition of Foreign Main Proceeding (the “Brazilian
Counsel Declaration”); and (iii) the Declaration of Marcelo Rossini in Support of Verified Petition under Chapter
15 for Recognition of Foreign Main Proceeding and First Day Pleadings (the “Rossini Declaration”), all of which
were filed concurrently herewith. Capitalized terms used but not otherwise defined shall have the meanings ascribed



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                                         JURISDICTION AND VENUE

         1.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334, and the Amended Standing Order of Reference M-431 dated January 31, 2012,

Reference M-431, In re Standing Order of Reference Re: Title 11, 12 Misc. 00032 (S.D.N.Y.

Jan. 31, 2012) (Preska, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(P).

Venue is proper in this Court pursuant to 28 U.S.C. § 1410.

                                              BACKGROUND

         2.       The relevant factual background with respect to the relief sought in this Motion is

set forth in the Verified Petition. The Court may find therein a description of the Brazilian RJ

Proceeding of the Debtors and certain of their affiliates, and the Debtors’ activities, business,

corporate and capital structures, and the circumstances leading to the commencement of the

Brazilian RJ Proceeding.

                                           RELIEF REQUESTED

         3.       By this Motion, the Petitioner seeks the entry of an order, substantially in the form

of the Proposed Order annexed hereto as Exhibit A, pursuant to section 105(a) of the Bankruptcy

Code and Bankruptcy Rule 1015(b) directing the joint administration of the Debtors’ Chapter 15

Cases for procedural purposes only.

                                            BASIS FOR RELIEF

         4.       Bankruptcy Rule 1015(b) provides in relevant part: “If a joint petition or two or

more petitions are pending in the same court by or against a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). As the Verified Petition

makes clear, the Debtors are “affiliates” as that term is defined in the Bankruptcy Code (see 11



to such them in the Verified Petition.




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U.S.C. §101(2)) and petitions for each of the Debtors have been filed with this Court. As such,

“two or more petitions are pending” in this Court within the meaning of such phrase as used in

Bankruptcy Rule 1015(b).

       5.      Courts have granted joint administration in chapter 15 cases based solely upon

Bankruptcy Rule 1015(b). See, e.g., In re OAS S.A., No. 15-10937 (SMB) (Bankr. S.D.N.Y.

Apr. 16, 2015), ECF No. 13; In re Aralco S.A. - Indústria e Comércio, No. 15-10419 (MKV)

(Bankr. S.D.N.Y. Feb. 27, 2015), ECF No. 9. As such, the Court has authority to enter this

order pursuant to Bankruptcy Rule 1015(b).

       6.      In addition to Bankruptcy Rule 1015(b), the Petitioner submits that the relief

requested herein is available pursuant to section 105(a) of the Bankruptcy Code. Section 105(a),

made applicable in chapter 15 cases pursuant to section 103(a), permits this Court to “issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of [the

Bankruptcy Code].” 11 U.S.C. §105(a). Section 105(a) “empower[s] ‘the bankruptcy court to

exercise its equitable powers to facilitate the implementation of other Bankruptcy Code

provisions.’” Id. (internal quotations omitted) (citing Solow v. Kalikow (In re Kalikow), 602 F.

3d 82, 97 (2d Cir. 2010)); see also In re Fairfield Sentry Ltd., 458 B.R. 665, 691-92 (S.D.N.Y.

2011) (noting that in chapter 15 cases, a bankruptcy court may enter orders pursuant to section

105(a) only to the extent consistent with the Bankruptcy Code and the Bankruptcy Rules) (citing

Barbieri v. RAJ Acquisition Corp. (In re Barbieri), 199 F.3d 616 (2d Cir. 1999)).

       7.      Joint administration of these cases is warranted because: (i) the Debtors’ financial

affairs and business operations are closely related; (ii) the Debtors are party to a single, jointly

administered reorganization proceeding in Brazil; and (iii) the joint administration of the Chapter

15 Cases will ease the administrative burden of the Chapter 15 Cases on this Court and parties in




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interest.

             8.     Moreover, granting the relief requested herein will limit the costs associated with

the Chapter 15 Cases, resulting in savings that the Debtors can use for their continued operations

and thus for the preservation of their going concern value. It will also relieve the Court of the

burden of entering duplicative orders and maintaining duplicative files for each of the Debtors’

cases. Importantly, the rights of creditors will not be affected by the joint administration of the

Chapter 15 Cases, as this Motion requests consolidation for administrative purposes only. 2

             9.     As such, the Petitioner respectfully requests that the caption of each of the

Chapter 15 Cases be modified to reflect their joint administration as follows:

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                     Chapter 15

                                                               Case No. 19-12731
    Odebrecht S.A., et al.,1
                                                               (Jointly Administered)
              Debtors in a Foreign Proceeding

1        The Debtors in these chapter 15 cases (the “Chapter 15 Cases”) and the last four identifying digits of the
tax number in the jurisdiction are: Odebrecht S.A., (Brazil – 01-72); Odebrecht Participações e Investimentos S.A.,
(Brazil – 01-00); Odebrecht Finance Ltd., (Cayman – 1323); and ODB International Corporation (Nassau - 8020 B).

             10.    The Petitioner also requests that the Court direct that the following statement be

entered on the docket of each of the Debtors’ Chapter 15 Cases to reflect their joint

administration:

                    An Order has been entered in this case directing the procedural
                    consolidation and joint administration of the chapter 15 cases of
                    Odebrecht S.A.; Odebrecht Participações e Investimentos S.A.;
                    Odebrecht Finance Ltd.; and ODB International Corporation. The
                    docket of Odebrecht S.A. in Case No. 19-12731 should be
                    consulted in all matters affecting or related to this case.

2
 On June 17, 2019 the Brazilian Court ordered the cases of the Debtors and certain of their affiliates (the “RJ
Debtors”) to be jointly administered.




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                                              NOTICE

       11.     The Petitioner requests that the Court grant this Motion without prior notice to

creditors, as all material creditors of the Debtors are aware that the Brazilian RJ Proceeding is

jointly administered in Brazil and, as noted above, the entry of the Proposed Order will not

adversely affect the rights of any creditors because it is for administrative purposes only. The

Petitioner, however, will serve notice of the signed order granting the relief requested herein to

the parties set forth in Exhibit G to the Verified Petition.

                                      NO PRIOR REQUEST

       12.     No previous motion for the relief sought herein has been made by the Petitioner to

this Court or any other court.

                                          CONCLUSION

       13.     WHEREFORE, the Petitioner respectfully requests that this Court: (i) enter an

order, substantially in the form of the Proposed Order annexed hereto as Exhibit A, directing the

joint administration of the Debtors’ Chapter 15 Cases for procedural purposes only; and (ii) grant

such other and further relief as the Court may deem just and proper.




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 Dated: August 26, 2019
 New York, New York
                                           CLEARY GOTTLIEB STEEN & HAMILTON LLP



                                           By: /s/ Luke A. Barefoot
                                               Luke A. Barefoot

                                           Richard J. Cooper, Esq.
                                           Luke A. Barefoot, Esq.
                                           CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                           One Liberty Plaza
                                           New York, New York 10006
                                           T: 212-225-2000
                                           F: 212-225-3999
                                           (lbarefoot@cgsh.com)
                                           Attorneys for the Foreign Representative of
                                           Odebrecht S.A. and its affiliated debtors




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